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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §           NO.       A-23-CR-135 (RP)
                                                 §
SAINT JOVITE YOUNGBLOOD                          §
                                                 §

       SAINT JOVITE YOUNGBLOOD’S ADDITIONAL PROPOSED VOIR DIRE

        Saint Jovite Youngblood respectfully submits the following additional proposed voir dire

 questions pursuant to Rule 24(a)(2)(B) of the Federal Rules of Criminal Procedure and requests

 that the Court include the following additional questions in its examination of prospective jurors.

 I.     Familiarity with the Case

        1.      Have you or any of your family members ever worked for the car dealership Toyota
                of Cedar Park?

        2.      Have you ever purchased a vehicle from Toyota of Cedar Park?

        3.      Have you had any other experience with Toyota of Cedar Park, positive or negative?

 II.    Prior Military Service

        4.      Have you ever served in the military? If so, what branch, when?

        5.      Have any of your close family members (parents, siblings, spouses, children) served
                in any branch of the military? When? Which branch?


                                             Respectfully submitted,


                                             MAUREEN SCOTT FRANCO
                                             Federal Public Defender



                                             __________________________________
                                             /s/ CHARLOTTE A. HERRING
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                                                   TX Bar Number: 24064026
                                                   Attorney for Defendant




                                       CERTIFICATE OF SERVICE

        I hereby certify that on the 12nd day of April 2024, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system which will send notification of such filing to the following:

Dan Guess
Matt Harding
Assistant U.S. Attorneys
903 San Jacinto, Ste. 334
Austin, TX 78701

                                          __________________________________________
                                          /s/ CHARLOTTE A. HERRING




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